                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     )
                                              )
               V.                             )
                                              )                      No. 21-cr-52 (TJK)
MATTHEW GREENE,                               )
                       Defendant.             )
___________________________________ )


DEFENDANT’S UNOPPOSED MOTION TO ALLOW THE DEFENDANT ACCESS TO

          THE CURTILAGE ATTACHED TO HIS HOME AS PART OF HOME

                     INCARCERATION CONDITIONS OF RELEASE

       Defendant Matthew Greene, by and through undersigned counsels, submits the following

unopposed motion to modify and clarify the terms of his home incarceration to allow the

Defendant to access the outdoor area of his residence.

       On December 22, 2021, the Defendant entered a guilty plea, pursuant to a cooperation

agreement with the government and the Court. On March 10, 2022, the Court granted the

unopposed motion of counsel to release the Defendant to home incarceration in the Northern

District of New York, while he is awaiting sentencing. The terms of home incarceration

included electronic location monitoring. The Defendant’s home in the City of Syracuse consists

of a one-story, single-family structure. The structure is one thousand, sixty-six square feet and

the property is twelve-hundredths of one acre. As part of Mr. Greene’s home incarceration, he

has not been permitted to access the small outdoor area surrounding his house.
         Undersigned counsel has spoken with a representative from the United States Probation

Department in the Northern District of New York and confirmed that Mr. Greene has been in

compliance with the terms set forth by the Court.   Additionally, counsel has conferred with

Assistant United States Attorney Erik Kenerson and the government does not oppose the relief

sought in this motion.

         WHEREFORE, the Defendant respectfully requests that he be permitted access to the

curtilage of his home as part of the home incarceration terms.




Dated:                                       Respectfully submitted,


                                             /s/ Michael Kasmarek, Esq.
                                             ______________________
                                             Bar roll number: 702427
                                             Attorney for the Defendant
                                             Kasmarek Law Office, PLLC
                                             440 East Washington Street
                                             Syracuse, New York 13202



                                             /s/ Michael Spano, Esq.
                                             ______________________
                                             Bar roll number:
                                             Attorney for the Defendant
                                             Spano Law Office, PLLC
                                             220 South Warren Street
                                             Syracuse, New York 13202
